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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)               )     MDL No. 16-2740
PRODUCTS LIABILITY                        )
LITIGATION                                )     SECTION: “H” (5)
                                          )
This document relates to:                 )
Barbara Earnest, 16-17144                 )


                         ORDER AND REASONS
      Before the Court are several Motions in Limine: Plaintiff’s Motion in
Limine to Exclude Evidence of Unrelated Medical Conditions, Familial
Medical History of Cancer, and Unrelated Medication Usage (Doc. 7647);
Plaintiff’s Motion in Limine to Preclude Any Comment or Argument that Taxol
Would Have Enhanced the Severity of Plaintiff’s Neuropathy (Doc. 7649);
Plaintiff’s Motion in Limine to Exclude Improper Arguments or Suggestions
Regarding FDA Approval (Doc. 7659); Defendants’ Motion to Preclude
Evidence or Argument Concerning Sanofi Promotional and/or Marketing
Materials Not Possessed or Relied on by Plaintiff or her Prescribing Physician
(Doc. 7657); Defendants’ Motion to Preclude Evidence or Argument Regarding
Sanofi Sales Representatives (Doc. 7657); Defendants’ Motion in Limine to
Preclude Evidence or Argument Concerning Correspondence Between DDMAC
and Sanofi (Doc. 7658); Defendants’ Motion in Limine to Preclude Evidence or
Argument Regarding Foreign Labeling and Regulatory Actions (Doc. 7666);
Defendants’ Motion in Limine to Preclude Evidence and Argument Regarding
Shirley Ledlie and Any “Taxotears” or Other Third Party Advocacy or
Communications Group or Group Members (Doc. 7670); and Defendants’
Motion in Limine to Preclude Evidence and Argument Regarding Company
Conduct that Post-Dates Plaintiff’s Chemotherapy Treatment (Doc. 7671).
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                                      BACKGROUND
           Plaintiffs in this multidistrict litigation (“MDL”) are suing several
pharmaceutical          companies      that    manufactured   and/or   distributed   a
chemotherapy drug, Taxotere or docetaxel, 1 that Plaintiffs were administered
for the treatment of breast cancer or other forms of cancer. Plaintiffs allege
that the drug caused permanent alopecia—in other words, permanent hair
loss. Plaintiffs bring claims of failure to warn, negligent misrepresentation,
fraudulent misrepresentation, and more. The first bellwether trial of Plaintiff
Barbara Earnest (“Plaintiff”) is set to begin September 16, 2019.
           On September 5, 2019, the Court held oral argument on several Motions
in Limine as listed in its order setting oral argument (Doc. 8140). The Court
ruled on certain Motions during the argument, as reflected in the minute entry
(Doc. 8198). The Court rules on the remaining Motions herein.


      I.     Motion in Limine to Exclude Evidence of Unrelated Medical
             Conditions, Familial Medical History of Cancer, and
             Unrelated Medication Usage (Doc. 7647)

           This Motion is granted in part and denied in part. The Court will not
allow Defendants’ experts to offer speculative testimony about medical
conditions for which Plaintiff has no diagnosis. Similarly, Defendants cannot
offer testimony regarding medication that Plaintiff does not use. If Defendants
have a proper foundation for testimony on medical conditions for which
Plaintiff has a diagnosis or medications that Plaintiff uses, Defendants may
introduce limited testimony of this nature if it is relevant to determining the
cause of Plaintiff’s alleged hair loss. The Court will further allow limited




1   Docetaxel is the generic version of Taxotere.
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testimony on Plaintiff’s family history of cancer as this is relevant to Plaintiff’s
mindset in deciding on her treatment plan.


   II.      Motion in Limine to Preclude Any Comment or Argument that
            Taxol Would Have Enhanced the Severity of Plaintiff’s
            Neuropathy (Doc. 7649)

         This Motion is granted in part and denied in part. The Court will allow
testimony regarding the risk of neuropathy associated with Taxol. To find
proximate causation, the jury will have to find that Dr. Carinder’s prescribing
decision would have changed if he had known of Taxotere’s risk of permanent
alopecia. As this Court has ruled, Dr. Carinder’s prescribing decision would
have been influenced by his conversations with Earnest. The jury will have to
consider how Dr. Carinder and Earnest would have weighed the risks and
benefits of her treatment options. The risk of neuropathy associated with Taxol
is relevant to this analysis. The Court will not allow testimony of Earnest’s
subsequent      development     of   neuropathy   post-chemotherapy.      Further,
Defendants may not offer speculative testimony to suggest that Plaintiff would
have suffered more severe neuropathy if she had chosen Taxol over Taxotere.


   III.     Motion in Limine to Exclude Improper Arguments or
            Suggestions Regarding FDA Approval (Doc. 7659)

         This Motion is granted in part, denied in part, and deferred in part. The
Court will not allow Defendants to argue or suggest that Sanofi was precluded
from changing its label. This would be misleading given that Sanofi did not
attempt to make a change under the “Changes Being Effected” (“CBE”)
regulation. This would further mislead the jury into believing that the FDA,




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and not Sanofi, bears primary responsibility for their labeling. 2 In Wyeth v.
Levine, the Supreme Court recognized that “manufacturers, not the FDA, bear
primary responsibility for their drug labeling at all times.” 3 Sanofi cannot lead
the jury to believe otherwise, and Sanofi cannot mispresent the fact that under
the CBE regulation, a manufacturer may make a labeling change without
waiting for FDA approval.
         Consistent with this, the Court will not allow Defendants to argue or
suggest that Sanofi provided the FDA with all pertinent information on reports
of permanent alopecia and yet the FDA did not take action. This would
improperly suggest to the jury that the FDA bears responsibility for Sanofi’s
label.
         Plaintiff’s Motion further seeks to exclude any argument that FDA
review and approval equates to Taxotere being “safe and effective.” The Court
defers ruling on this until trial.
         Lastly, Plaintiff’s Motion seeks to exclude any argument that the FDA’s
deletion of information in the 2010 label is representative of specific intent,
knowledge, or belief by the FDA regarding the adequacy of the Taxotere label
as it relates to permanent hair loss. The Court will not allow such argument
as this would be effectively arguing that Sanofi’s obligations under state law
are the same as their obligations to the FDA.




2 See In re Trasylol Prods. Liab. Litig., 2010 WL 4259332, at *7 (excluding expert opinion
that FDA is ultimate authority on information included in drug label).
3 Wyeth v. Levine, 555 U.S. 555, 579 (2009).
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   IV.     Motion to Preclude Evidence or Argument Concerning Sanofi
           Promotional and/or Marketing Materials Not Possessed or
           Relied on by Plaintiff or her Prescribing Physician (Doc. 7657
           at p. 8)

        This Motion is denied. Evidence showing how Sanofi communicated with
doctors or patients about hair loss is relevant to Sanofi’s state of mind and
what knowledge Sanofi had of Taxotere’s risk of hair loss.


   V.      Motion to Preclude Evidence or Argument Regarding Sanofi
           Sales Representatives (Doc. 7657 at p. 13)

        This Motion is denied. Dr. Carinder’s relationship with Sanofi’s sales
representatives is relevant.


   VI.     Defendants’ Motion in Limine to Preclude Evidence or
           Argument Concerning Correspondence Between DDMAC and
           Sanofi (Doc. 7658)

        This Motion is granted. The letters at issue relate to the use of Taxotere
for lung cancer and metastatic breast cancer, neither of which Plaintiff had.


   VII. Motion in Limine to Preclude Evidence or Argument
        Regarding Foreign Labeling and Regulatory Actions (Doc.
        7666)

        This Motion is granted in part and denied in part. Plaintiff may elicit
evidence showing what Sanofi said about hair loss to foreign regulatory bodies.
The Court will not allow evidence, however, regarding what any foreign
regulatory bodies required of Sanofi.




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   VIII. Motion in Limine to Preclude Evidence and Argument
         Regarding Shirley Ledlie and Any “Taxotears” or Other Third
         Party Advocacy or Communications Group or Group
         Members (Doc. 7670)

      This Motion is granted. However, if Plaintiff believes that Defendants
have elicited testimony that “opened the door” on this subject, Plaintiff should
request a conference with the Court to allow the Court to decide if the probative
value of testimony relating to “Taxotears” or similar groups outweighs its
prejudicial effect.


   IX.    Motion in Limine to Preclude Evidence and Argument
          Regarding Company Conduct that Post-Dates Plaintiff’s
          Chemotherapy Treatment (Doc. 7671)

      This Motion is granted. Any evidence of labeling changes occurring after
Plaintiff’s   treatment   constitute   subsequent    remedial    measures       as
contemplated by Federal Rule of Evidence 407.


                                CONCLUSION
      For the foregoing reasons, IT IS ORDERED that:
   • Plaintiff’s Motion in Limine to Exclude Evidence of Unrelated Medical
      Conditions, Familial Medical History of Cancer, and Unrelated
      Medication Usage (Doc. 7647) is GRANTED IN PART and DENIED
      IN PART;
   • Plaintiff’s Motion in Limine to Preclude Any Comment or Argument that
      Taxol Would Have Enhanced the Severity of Plaintiff’s Neuropathy (Doc.
      7649) is GRANTED IN PART and DENIED IN PART;
   • Plaintiff’s Motion in Limine to Exclude Improper Arguments or
      Suggestions Regarding FDA Approval (Doc. 7659) is GRANTED IN
      PART, DENIED IN PART, and DEFERRED IN PART;
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• Defendants’ Motion to Preclude Evidence or Argument Concerning
  Sanofi Promotional and/or Marketing Materials Not Possessed or Relied
  on by Plaintiff or her Prescribing Physician (Doc. 7657) and Motion to
  Preclude Evidence or Argument Regarding Sanofi Sales Representatives
  (Doc. 7657) are DENIED. The other arguments in Doc. 7657 remain
  pending before the Court;
• Defendants’ Motion in Limine to Preclude Evidence or Argument
  Concerning Correspondence Between DDMAC and Sanofi (Doc. 7658) is
  GRANTED;
• Defendants’ Motion in Limine to Preclude Evidence or Argument
  Regarding Foreign Labeling and Regulatory Actions (Doc. 7666) is
  GRANTED IN PART and DENIED IN PART;
• Defendants’ Motion in Limine to Preclude Evidence and Argument
  Regarding Shirley Ledlie and Any “Taxotears” or Other Third Party
  Advocacy or Communications Group or Group Members (Doc. 7670) is
  GRANTED; and
• Defendants’ Motion in Limine to Preclude Evidence and Argument
  Regarding Company Conduct that Post-Dates Plaintiff’s Chemotherapy
  Treatment (Doc. 7671) is GRANTED.


  New Orleans, Louisiana this 10th day of September, 2019.




                                    JANE TRICHE MILAZZO
                                    UNITED STATES DISTRICT JUDGE




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